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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


PLAISTOW PROJECT, LLC,

               Plaintiff,

       v.                                                 C.A. No.1:16-cv-11385-IT

ACE PROPERTY & CASUALTY
INSURANCE COMPANY,

               Defendant.


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff,

Plaistow Project, LLC, and Defendant, ACE Property and Casualty Insurance Company

(“ACE”), stipulate and agree that this action is dismissed with prejudice, with all rights to appeal

waived, and with each party to bear its own attorneys’ fees and costs.

       Respectfully submitted,                       Respectfully submitted,

       PLAISTOW PROJECT, LLC,                        ACE PROPERTY AND CASUALTY
                                                     INSURANCE COMPANY,

       By its Attorneys,                             By its Attorneys,

       McLANE MIDDLETON,                             WHITE AND WILLIAMS LLP
       PROFESSIONAL ASSOCIATION

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                                CERTIFICATE OF SERVICE

        I certify that this document, filed through the ECF system, will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing and paper copies will
be sent to those indicated as non-registered participants as of September 19, 2019.



                                                            /s/ R. Victoria Fuller
                                                            R. Victoria Fuller




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